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                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

            CHAMBERS OF                                                   MARTIN LUTHER KING
          ESTHER SALAS                                                       COURTHOUSE
    UNITED STATES DISTRICT JUDGE                                             50 WALNUT ST.
                                                                               ROOM 5076
                                                                           NEWARK, NJ 07101
                                                                               973-297-4887


                                          February 10, 2019


                                         LETTER ORDER


        Re:      Fuller v. Insys Therapeutics, Inc., et al.
                 Civil Action No. 17-7877 (ES) (SCM)

 Dear Counsel:

        The Court is in receipt of various letters sent by the parties regarding supplemental briefing
 to defendant Rochester Drug Cooperative, Inc.’s (“Rochester”) motion to dismiss the amended
 complaint on the limited issue of personal jurisdiction (D.E. No. 207). (D.E. Nos. 231–233, 236
 & 238).

         Before the Court considers whether supplemental briefing is necessary, Rochester shall
 clarify whether it seeks to withdraw its motion to dismiss based on personal jurisdiction, thereby
 waiving any defense on this ground. Park Inn Int’l, L.L.C. v. Mody Enterprises, Inc., 105 F. Supp.
 2d 370, 374 (D.N.J. 2000) (“Unlike some jurisdictional bars, personal jurisdiction can be waived
 by the parties.”) (citing Ins. Corp. of Ireland v. Compagnie des Bauxites de Guinee, 456 U.S. 694,
 703 (1982)).

        Accordingly, Rochester shall submit a letter response to this Order not to exceed one page
 by Friday, February 14, 2020. The Court will request a response from Plaintiff only if necessary.

        SO ORDERED.
                                                       s/Esther Salas
                                                       Esther Salas, U.S.D.J.
